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                       IN THE UNITED STATES DISTRICT COURT
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                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                    AUGUSTA DIVISION                      CLERK



TYRONE DONNELL DAVIS,

                Petitioner,

        V.                                         CV 110-152
                                                   (Formerly CR 109-035)
UNITED STATES OF AMERICA,

                Respondent.



         MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION


        Petitioner, an inmate formerly confined to federal custody at the Talladega Federal

Correctional Institution in Talladega, Alabama, filed with this Court a motion under 28

U.S.C. § 2255 to vacate, set aside, or correct his sentence. Pursuant to a written plea


agreement, Petitioner pleaded guilty to a single count of distributing cocaine base, a schedule

H controlled substance, in violation of 21 U.S.C. § 841(a). See United States v. Davis CR

109-035, doe. nos. 1, 76, 77 (S.D. Ga. June 29, 2009) (hereinafter "CR 109-035").


Following a Rule 11 hearing, the Honorable J. Randal Hall, United States District Judge,

sentenced Petitioner to a term of imprisonment of 48 months. Id., doe. nos. 89, 90.

Petitioner did not file a direct appeal.'

        Petitioner then timely filed the instant § 2255 motion, in which he seeks a



   'Petitioner's plea agreement included a broad waiver of his right to appeal or collaterally
attack his sentence. See CR 109-035, doe. no. 76, pp. 4-5.
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modification of his sentence based on a retroactive application of The Fair Sentencing Act

of 2010 ("FSA"), Pub. L. No. 111-220, 124 Stat. 2372. (See doe. no. 1.) Respondent filed

a response to Petitioner's § 2255 motion, arguing that the collateral attack waiver barred

Petitioner's claim and that neither the FSA nor the relevant provision of the Sentencing

Guidelines applied retroactively. (See doc. no. 3.)

        However, subsequent to the filing of Respondent's response, the United States

Sentencing Commission voted to give retroactive effect to the Sentencing Guidelines

provision that implements the FSA. See 76 Fed. Reg. 4 1332-35 (July 13, 2011), On

November 1, 2011, the date the provision became retroactively applicable, Judge Hall issued

a sua sponte Order modifying Petitioner's sentence based on the newly retroactively

applicable Guidelines provision, which had the effect of reducing Petitioner's sentence to

time served plus 10 days. CR 109-035, doe. no. 141. The Federal Bureau of Prisons' online

records indicate that Petitioner was released from custody as scheduled on November 10,

2011.

        In light of these circumstances, it is evident that the relief sought by Petitioner in his

§ 2255 motion has been independently granted by Judge Hall's November 1st Order, which

renders his § 2255 motion moot. See Soliman v. United States, 296 F.3d 1237, 1242 (11th

Cir. 2002) ("[I]f events that occur subsequent to the filing of a lawsuit or an appeal deprive

the court of the ability to give the [petitioner] meaningful relief, then the case is moot and

must be dismissed."); Lambrix v. Singletary, 72 F.3d 1500, 1508 (11th Cir. 1996) (finding

claim for habeas corpus relief becomes moot when the remedy sought has already been

independently granted). Petitioner's § 2255 motion is also rendered moot by the fact that he


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has been released from custody. The termination of a prisoner's confinement moots his

habeas corpus action where, as here, his sole § 2255 claim concerns the length of his

sentence rather than the validity of his conviction and he has not shown any remaining

collateral consequences that habeas relief would address. See .S jR encer v. Kemna, 523 U.S.

1,7-8 (1998) (requiring showing of collateral consequences of parole revocation to maintain

habeas corpus action for wrongful termination ofparole status after "reincarceration that [the

petitioner] incurred as a result of that action" was "over and [could not] be undone").

Accordingly, the Court REPORTS and RECOMMENDS that the instant § 2255 motion

be DISMISSED AS MOOT and that this civil action be CLOSED.2

        SO REPORTED and RECOMMENDED thiay of November, 2011, at

Augusta, Georgia.


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                                                 W. LEON BRFmLD /)
                                                 UNITED STATES MAGIS(LTE JUDGE




   2 Having concluded that Petitioner's entire § 2255 motion is moot, the Court declines to
address the issues of whether the relief sought by Petitioner is available in a § 2255
proceeding and, if so, whether Petitioner's FSA claim is barred by the collateral attack
waiver in his plea agreement.

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